
Opinion of the court.
The complainant had judgment in the Circuit Court of Davidson county against defendant John G. Baker, and files this bill alleging the insolvency of defendant to subject a tract of land in Benton county to the satisfaction of his judgment alleged to have been fraudulently conveyed by defendant John G. Baker to his son William and one Wannock, to defeat, hinder and delay his creditors and especially complainant in the collection of their debts.
We think the badges of fraud in the conveyance —the execution thereof, pending the complainants *641action at law — the avowal of the bargainor that he did not intend to pay the debt — the admission of the bargainee William Baker, long after the deed, that the land belonged to his father, and other significant and suspicious circumstances, fully justified the Chancellor in holding the conveyance. fraudulent and void, and ordering a sale of the land in discharge of the complainant’s judgment.
The judgment is assailed in defendant’s answer as void, upon grounds, which, whether available or not in a proper mode of attack cannot avail the defendant in this proceeding, as the judgment is valid upon its face.
The bill does not pray for a sale of the land upon credit, without the right of redemption, but the decree provides for such sale as on application of the complainant. We have held, that the application must appear in the prayer of the bill itself, and that without such application in appropriate form, the right of redemption canuot be cut off.
In this particular, the decree of the Chancellor is reversed, but in all others it will be affirmed, and the cause remanded for further orders, in conformity herewith.
